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                            EXHIBIT A
               Case 2:21-cv-07178-FWS-JC                                 Document 1-1 Filed 09/07/21                                    Page 2 of 28 Page ID
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                                       Assigned for all purposes to : Stanley Mosk Courthouse, Judicial Officer: David Sotelo
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                           8    CLEANVIEW DISTRIBUTION GROUP LLC,
                                SMASH HIT TRADING LLC, and GREEN GOLD ICE LLC
                           9
                                                         SUPERIOR COURT OF THE STATE OF CALIFORNIA
                          10
                                                                       FOR THE COUNTY OF LOS ANGELES
                          11
                                CLEANVIEW DISTRIBUTION GROUP LLC,                                               CASE NO.               21 STC:V-26352
                          12    a Wyoming limited liability company; SMASH
                                HIT TRADING LLC, a Wyoming limited
                          13    liability company; and GREEN GOLD ICE
                                LLC, a Wyoming limited liability company,                                       COMPLAINT FOR:
                          14
                                                       Plaintiffs,            (1) FRAUD I THE INDUCEMENT;
                          15                                                  (2) TORTIOUS INTERFERENCE WITH
                                                 vs .                         CONTRACTUAL RELATIONSHIP;
                          16                                                  (3) BREACH OF CONTRACT;
                                LGI HOLDINGS , LLC, a Wyoming limited         (4) BREACH OF THE IMPLIED
                          17    liability company; ALPHABET WHOLESALE, COVENANT OF GOOD FAITH AND
                                a business organization, form unknown;        FAIR DEALING;
                          18    ALPHABET WHOLESALE, INC. , a                  (5) BREACH OF CONTRACT;
                                corporation; ALPHABET WHOLESALE, LLC, (6) BREACH OF THE IMPLIED
                          19    a limited liability company; PEYTON P ALAIO, COVENANT OF GOOD FAITH AND
                                an individual; TED PALAIO, an individual;     FAIR DEALING
                          20    LAWRENCE LARSEN , an individual ; MARK (7) UNJUST ENRICHMENT;
                                JENNINGS, an individual; MARK JENNINGS, (8) DECLARATORY RELIEF; AND
                          21    individually and as a director of Alphabet    (9) DECLARATORY RELIEF
                                Wholesale, Inc.; MARK JENNINGS,
                          22    individually and as a director of Alphabet    DEMAND FOR JURY TRIAL
                                Wholesale, business form unknown; MARK
                          23    JENNINGS, individually and doing business as
                                Alphabet Wholesale; JASON FOSTER, an
                          24    individual; and DOES 1 through 10, inclusive,
                          25                           Defendants.
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                                          Plaintiffs Cleanview Distribution Group LLC ("Cleanview"), Smash Hit Trading LLC

                             2   ("Smash Hit"), and Green Gold ICE LLC ("Green Gold") (collectively, "Plaintiffs") hereby

                             3   bring this Complaint against Defendants LGI Holdings, LLC ("LGI"), Alphabet Wholesale,

                             4   Alphabet Wholesale, Inc. , Alphabet Wholesale, LLC, (collectively the three Alphabet entities

                             5   are "Alphabet"), 1 Peyton Palaio, Ted Palaio, Lawrence Larsen, Mark Jennings, and Jason

                             6   Foster and DOES 1 through 10, inclusive (collectively, "Defendants"), and alleges as follows:

                             7                                             INTRODUCTION

                             8             1.       Cleanview and its affiliated companies built a successful, integrated business to

                             9   import and distribute kratom (mitragyna speciosa), a plant indigenous to Southeast Asia that

                            10   may be processed for various uses, including as a fertilizer or in alternative, holistic

                            11   supplements. Over the course of several years and the significant investment of resources, the

                            12   Clean view companies cultivated extensive relationships directly with a network of farmers in

                            13   Indonesia to source kratom, and developed a shipping operation and gained the expertise to

                            14   import and distribute the product for wholesale customers in the United States.

                            15            2.        Cleanview's success led to an offer to acquire the business from its leading

                            16   customer LGI and its related company Alphabet in 2021. Upon information and belief,

                            17   individual defendants Peyton Palaio, Lawrence Larsen, Ted Palaio, Mark Jennings, and Jason

                            18   Foster own, operate, and/or control LGI and its affiliate Alphabet as part of larger web of

                            19   companies, including Olistica Life Sciences Group ("Olistica") and Optimized Plant Mediated

                            20   Solutions ("OPMS"). Peyton Palaia and others represented to Cleanview and its affiliated

                            21   companies, Smash Hit and Green Gold (collectively, the "Cleanview Companies") that his

                            22   network of companies is the largest kratom business in the United States and wanted to expand

                            23   to integrate the supply, import, and distribution segments into its existing network, and

                            24   eliminate supply chain disruption. Peyton Palaia and others courted the Cleanview Companies

                            25   with an opportunity to sell the business with a handsome profit.

                            26   1
                                   Upon information and belief, Plaintiffs have named as defendants Alphabet Wholesale,
                            27   Alphabet Wholesale, Inc. , and Alphabet Wholesale, LLC (collectively "Alphabet") as the form
                                 of the business organization is unknown. All allegations herein alleged against "Alphabet" are
                            28   intended to be alleged against each of these three defendants.
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                                          3.       In March 2021 , the parties signed a memorandum of understanding outlining

                             2   the material terms of the proposed acquisition, valued in excess of $30 million. The parties

                             3   also signed a standard non-disclosure agreement to permit LGI and its principals to conduct

                             4   due diligence on the Cleanview business and review its confidential information for the sole

                             5   purpose of completing the proposed transaction. Yet, the proposed transaction appears to have

                             6   been nothing more than a ruse to acquire Cleanview's confidential information, including its

                             7   know-how and receive introductions to farmers and other critical persons in Cleanview ' s

                             8   shipping and import operation, and use that information to compete with Cleanview and then,

                             9   baldly, demand that Cleanview release additional shipments of kratom and fail to pay

                            10   outstanding invoices.

                            11            4.       Cleanview demanded that LGI, Alphabet, and their principals, including Peyton

                            12   Palaio (aka Peyton Palaia), Ted Palaio (aka Ted Palaia), and others cease and desist all of the

                            13   improper uses of Cleanview ' s confidential information that was only provided under the

                            14   auspices of the NDA with the expectation of LGI timely completing diligence and closing the

                            15   proposed acquisition as expressly provided in the MOU. Instead, LGI responded with false

                            16   and inaccurate assertions that it was only using Cleanview's confidential infonnation for

                            17   "diligence," that somehow extended to lobbying activities and conspiring with Cleanview ' s

                            18   supplier. LGI's vague assurances that it was "interested" in a resolution were nothing more

                            19   than pretense because LGI has done nothing for more than a month to advance the proposed

                            20   transaction or even an interim agreement that LGI itself proposed.

                            21            5.       The Cleanview companies responded to LGI and Alphabet's assertions and now

                            22   seek this Court' s intervention to hold LGI, Alphabet, Peyton Palaio, Ted Palaio, and their

                            23   myriad web of shell companies responsible for scheme to acquire Cleanview's confidential

                            24   information and compete with Clean view, and all the other aspects of their deliberate fraud .

                            25                                                PARTIES

                            26            6.       Plaintiff Cleanview is a limited liability company in the state of Wyoming with

                            27   its principal place of business in Los Angeles, California.

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                                   7.       Plaintiff Smash Hit is a limited liability company in the state of Wyoming with

                      2   its principal place of business in Los Angeles, California.

                      3            8.       Plaintiff Green Gold is a limited liability company in the state of Wyoming with

                      4   its principal place of business in Los Angeles, California.

                      5            9.       On information and belief, Defendant LGI is a limited liability company in the

                      6   state of Wyoming.

                      7            10.      On information and belief, Defendant Alphabet Wholesale is a business entity

                      8   of unknown form .

                      9            11.      On information and belief, Defendant Alphabet Wholesale, Inc. is a corporation.

                     10            12.      On information and belief, Defendant Alphabet Wholesale, LLC is a limited

                     11   liability company.

                     12            13.      On information and belief, Defendant Peyton Palaia also known as Peyton

                     13   Palaia is an individual.

                     14            14.      On information and belief, Defendant Lawrence Larsen also known as

                     15   Lawrence Palaia and Lawrence Palaia is an individual.

                     16            15.      On information and belief, Defendant Ted Palaia also known as Ted Palaia is an

                     17   individual.

                     18            16.      On information and belief, Mark Jennings is an individual.

                     19            17.      On information and belief, Mark Jennings is a director of Alphabet Wholesale,

                     20   Inc.

                     21            18.      On information and belief, Mark Jennings is a director of Alphabet Wholesale,

                     22   business form unknown.

                     23            19.      On information and belief, Mark Jennings does business as Alphabet

                     24   Wholesale.

                     25            20 .     On information and belief, Jason Foster is an individual.

                     26            21.      Plaintiffs do not know the true names and capacities of the Defendants sued in

                     27   this action by the fictitious names DOES 1 through 10, inclusive. Such fictitious Defendants

                     28   are sued pursuant to the provisions of the California Code of Civil Procedure. Upon
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                               information and belief, Plaintiffs allege that each of the fictitiously named Defendants was in

                           2   some manner responsible for, participated in or contributed to the matters and things of which

                           3   Plaintiffs complain herein, and in some fashion, has legal responsibility therefor. When the

                           4   exact nature and identity of the fictitious Defendants who are responsible for participating and

                           5   contributing to the matters and things herein alleged are ascertained by Plaintiffs, Plaintiffs will

                           6   amend this pleading to set forth the same.

                           7            22.      Upon information and belief, Plaintiffs allege that each Defendant, including

                           8   DOES 1-10, was and is the agent, employee, servant, subsidiary, partner, member, associate, or

                           9   representative of each other Defendant, including DOES 1-10, and all of the acts and omissions

                          10   alleged to have been done by the Defendants were done in the course and scope of the agency,

                          11   employment, service, subsidiary relationship, partnership, membership, association, or

                          12   representative relationship and with knowledge and consent of their respective principals,

                          13   employers, masters, parent corporations, partners, members, associates, or representatives .

                          14                                        JURISDICTION AND VENUE

                          15            23.      Jurisdiction is proper in the Superior Court for the County of Los Angeles

                          16   pursuant to Section 410.10 of the California Code of Civil Procedure because it has general

                          17   subject matter and no statutory exceptions to jurisdiction exist.

                          18            24.      Venue is proper in this Court as the County of Los Angeles is where the subject

                          19   contracts were made and to be performed, where the parties' obligations occurred, and the

                          20   breaches asserted herein occun-ed. Venue is also proper because the injury has occun-ed by

                          21   Defendants' wrongful conduct.

                          22                                        GENERAL ALLEGATIONS

                          23            A.       The Cleanview Companies Develop An Import And Distribution Business

                          24            25.      The Cleanview Companies have developed an extensive, integrated business for

                          25   the importation and distribution of wholesale kratom, a tropical evergreen tree that has been

                          26   traditionally used in Southeast Asia for herbal and medicinal purposes. Originally, the

                          27   Cleanview Companies solely purchased kratom through an inte1mediate supplier and arranged

                          28   shipping and importation, encountering challenges of a new business .
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                            26 .     Over time, the Cleanview Companies spend significant time and resources to

              2    cultivate relationships with farmers in Indonesia, and form a network to source much greater

              3    amounts of kratom of consistent quality. In tum, the Cleanview Companies worked with

              4    suppliers and others to create a reliable shipping operation to transport the product from

              5    Indonesia into the United States, principally through the ports of Los Angeles and Long Beach,

              6    and facilitate delivery to wholesale customers from the Cleanview Companies' warehouses in

              7    Los Angeles County.

              8             27 .     As the Cleanview Companies grew in their expertise, the Cleanview Companies

              9    became one of the largest importers of kratom in the United States. Upon information and

             10    belief, competitors attempt to import kratom under a variety of government codes, but

             11    routinely have product held or even seized at Customs. In contrast, the Cleanview Companies

             12    expressly label the product as kratom (mitragyna speciose).

             13             B.       The Cleanview Companies Begin Supplying Kratom To Alphabet And LGI

             14                      And Enter Into An Exclusive Supply Agreement

             15             28.      By 2020, Alphabet, primarily through Lawrence Larsen, approached the

             16    Cleanview Companies to supply its operations with kratom. Over the course of several

             17    months, the Cleanview Companies fulfilled a number of Alphabet orders. Larsen explained

             18    that Alphabet was part of a larger organization that includes product lines under the brands

             19    Olistica and OPMS. Larsen stated that these operations were the largest kratom businesses in

             20    the United States, grossing millions annually.

             21             29 .     The Cleanview Companies' shipments and deliveries to Alphabet were

             22    designated for agricultural uses, as the Cleanview Companies had no control over Larsen and

             23    Alphabet' s processing of the product and ultimate use. Larsen and Alphabet never raised any

             24    objection to the designation. Larsen and Alphabet never suggested any testing or other

             25    requirements before accepting delivery of product. In fact, Larsen and A lphabet never set any

             26    specification for the product, other than the quantities .

             27             30.      Satisfied with the Cleanview Companies' performance to satisfy larger orders,

             28    Larsen and others with Alphabet sought to receive a consistent supply of kratom to meet their
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                                commercial needs. On or about October 26, 2020, Alphabet, and Smash Hit and Green Gold

                            2   entered into an Exclusive Supply Agreement (the "Supply Agreement"), by which Smash Hit

                            3   and Green Gold became Alphabet's exclusive supplier of kratom in exchange for Alphabet

                            4   agreeing to pay set prices ranging from $12.25 to $13 .50 per Kg, depending on the quantity

                            5   purchased. A true and correct copy of the Supply Agreement is attached hereto as Exhibit 1

                            6   and incorporated by reference herein.

                            7            31.       The Supply Agreement required Smash Hit and Green Gold to maintain an

                            8   inventory of 800 metric tons available to meet Alphabet's needs. Smash Hit and Green Gold,

                            9   in turn, maintained that inventory in its warehouse facilities in Los Angeles County (and more

                           10   recently expanded those warehouse facilities to meet Alphabet and LGI's supply demands as

                           11   detailed below).

                           12            32.       The Supply Agreement required Alphabet's purchase of a minimum amount of

                           13   kratom on a monthly basis, increasing from 275 metric tons to 300 metric tons. This provision

                           14   was a critical commitment for Smash Hit and Green Gold to become an exclusive supplier,

                           15   representing over $3 million in monthly revenues.

                           16            33.       The Supply Agreement provided Alphabet to obtain replacement for any kratom

                           17   that did not meet "testing and specifications." As part of the replacement process, the Supply

                           18   Agreement required that Alphabet give written notice within 60 days of receipt of the shipment

                           19   and to return any rejected product. This provision was a safeguard for Smash Hit and Green

                           20   Gold against claims of defective product and then re-sale of the same without providing Smash

                           21   Hit and Green Gold an independent opportunity to test the product and take remedial action.

                           22   Because Smash Hit and Green Gold only intended to supply product under the agricultural

                           23   designation, just as the Cleanview Companies had before the Supply Agreement, there is a

                           24   limited universe of testing or defects that are possible, such as whether other agricultural

                           25   product became intennixed with the kratom, such as bird feathers. In fact, Larsen inforn1ed the

                           26   Cleanview Companies that following receipt of product, Alphabet sanitizes any entire

                           27   shipment before it begins to process the product. Larsen even explained that because Alphabet

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                                  incorporates product into customer goods under Olistica and OPMS, the sanitization is a

                              2   necessary process.

                              3             34.     The Supply Agreement set an 18-month, renewable term, under which Smash

                              4   Hit and Green Gold became an exclusive supplier.

                              5             35.     Smash Hit and Green Gold performed under the Supply Agreement, meeting

                              6   each order from Alphabet under the terms of the agreement. Alphabet never informed Smash

                              7   Hit or Green Gold of any specific testing or specifications for any delivery, and never objected

                              8   to the agricultural designation of the product. Indeed, Larsen once explained that Alphabet

                              9   ceased using another kratom importer because it added artificial coloring to the product. He

                             10   also emphasized the robust sanitization process Alphabet followed.

                             11             C.      Alphabet Pursues An Outright Acquisition Of The Cleanview Companies

                             12             36.     Satisfied with Smash Hit and Green Gold's product and performance under the

                             13   Supply Agreement, Alphabet began to engage in discussions to acquire Cleanview Parties'

                             14   import business by early 2021. As part of the acquisition, LGI would also acquire from

                             15   Cleanview certain real estate and warehouse facilities under construction in Indonesia.

                             16             37.     Larsen introduced the Cleanview Companies to Peyton Palaio, as the head of

                             17   the Alphabet network of companies. Larsen and Peyton Palaio began negotiating the terms for

                             18   a deal.

                             19             38.      In the meantime, Alphabet sent a notice on or about January 26, 2021,

                             20   purporting to assert that product previously received was defective and provided various

                             21   testing results. The Cleanview Companies were surprised by the notice for multiple reasons,

                             22   including that no testing or specifications had ever been agreed upon, the testing results

                             23   suggested testing compatible with human consumption, and that the results were from before

                             24   the product underwent sanitization as part of Alphabet's nonnal operations. Larsen and later

                             25   Peyton Palaio immediately downplayed the notice; Alphabet did not return the supposedly

                             26   defective product as required under the Supply Agreement and Alphabet did not request

                             27   replacement product.

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                                       39.      After a series of discussions between and among Peyton Palaio and Larsen, and

                          2   the Cleanview Companies principal, John Thomas Bryant, at his offices in Los Angeles

                          3   County, on or about March 10, 2021 , Cleanview and LGI entered in a Memorandum of

                          4   Understanding (the "MOU"), which outlined the basic terms for the acquisition of the

                          5   Cleanview Companies.

                          6            40.      The MOU also incorporated as Exhibit A, a Confidentiality and Non-Disclosure

                          7   Agreement (the "NDA"). The MOU is expressly designated as confidential and limits the

                          8   ability to disclose its terms (and ostensibly the NDA). True and correct copies of the MOU

                          9   and NDA are attached as Exhibit 2 and incorporated herein by reference. Concurrently,

                         10   Plaintiffs have moved to seal that exhibit consistent with the MOU's terms .

                         11            D.       As LGI Conducts Diligence, The Parties Negotiate A Definitive Agreement

                         12            41.      After entering into the MOU and NDA, the Cleanview Companies responded to

                         13   standard diligence requests about its operations under the auspices of the NDA. The

                         14   Cleanview Parties showed the LGI the dynamics of its entire supply and distribution chain,

                         15   from the farmers and distributors in Indonesia, to the importation process. The Cleanview

                         16   Parties also introduced the LGI Parties to its main supplier, Indobotanical Trading Company

                         17   ("Indobotanical").

                         18            42.      As part of the diligence, Peyton Palaio requested that Ted Palaio visit contacts,

                         19   suppliers, farmers , and others in Indonesia. The Cleanview Companies welcomed Ted Palaio,

                         20   including arranging sponsorship for his visit, a guide, and accommodations for him and his

                         21   wife through Indobotanical.

                         22            43.      During this time, the Cleanview Companies began to directly negotiate terms of

                         23   a definitive acquisition agreement, largely with Peyton Palaio. From March through May

                         24   2021 , Peyton Palaio had numerous conversations, e-mails and texts with Mr. Bryant to both

                         25   negotiate open terms and learn about the Cleanview operations. The parties exchanged drafts

                         26   of a definitive agreement, including a draft from Cleanview on or about May 13 , 2021 .

                         27            44.      During this time, LGI continued to place kratom orders from the Cleanview

                         28   Companies. However, unlike before, the Cleanview Companies enabled LGI to place those
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                               orders with its supplier Indobotanical and pay for those invoices at cost. The Cleanview

                           2   Companies were willing to wait for payment for its portion of the fees until the acquisition was

                           3   complete.

                           4            45.      Yet, despite the Cleanview Companies ' openness and candor during diligence

                           5   and availability to answer Peyton Palaia, Larsen, and Ted Palaio's questions, Peyton Palaia

                           6   explained to Mr. Bryant that diligence and finalizing the acquisition agreement from LGI's

                           7   side was taking longer to complete. By the end of May 2021 , Peyton Palaia proposed a

                           8   reimbursement agreement to ostensibly limit out-of-pocket costs for the Cleanview Companies

                           9   while the acquisition agreement was completed, but would not directly compensate the

                          10   Cleanview Companies for their work and efforts for continuing to supply kratom to LGI and

                          11   Alphabet.

                          12            46 .     On or about June 2 2021 , the Cleanview Companies supplied the last of the

                          13   requested diligence items. And, on or about June 3, 2021 , the Cleanview Companies sent a

                          14   revised draft of the reimbursement agreement to ensure the Cleanview Companies were

                          15   compensated for their efforts in supplying kratom to LGI and Alphabet, and for payment of a

                          16   growing number of outstanding payments.

                          17            E.       The Clean view Companies Learn Oflmproper Use Of Their Confidential

                          18                     Information And Demand LGI Cease And Desist

                          19            47.      The Cleanview Companies received no substantive response following the

                          20   delivery the last diligence item and updated draft reimbursement agreement. In the meantime,

                          21   the Cleanview Companies had been informed that Ted Palaia was still in Indonesia, but is

                          22   exceeding any necessary diligence.

                          23            48 .     Upon information and belief, the Cleanview Companies are informed that Ted

                          24   Palaia and others directly contacted farmers in the Cleanview Companies supply chain-

                          25   farmers were only were identified pursuant to the NDA- and began requesting that fanners

                          26   undertake various changes to their practices.

                          27            49.      Upon information and belief, the Cleanview Parties are informed that Ted

                          28   Palaia and the other LGI executives have been actively engaged with local Indonesian
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                           individuals and entities that are part of Cleanview's supply chain, including Indobotanical.

                       2   The Cleanview Parties are further informed that Ted Palaio on behalf of LGI has been meeting

                       3   with and potentially lobbying Indonesian government officials through the contact that the

                       4   Clean view Parties carefully cultivated and only introduced him to under the protection of the

                       5   NDA.

                       6           50.     Prior to introducing LGI to Indobotanical, the Cleanview Companies had a

                       7   fostered a productive business relationship with lndobotanical. Yet, after Indobotanical began

                       8   working with the LGI Parties, LGI failed to pay several oflndobotanical's invoices . As a

                       9   result, many of Clean view's shipments (destined for ultimate delivery to LGI) were delayed

                      10   and put on hold until LGI or Cleanview remitted payment. For the first time in the relationship

                      11   between Indobotancial and the Cleanview Parties, Indobotancial threatened to engage in self-

                      12   help if payment was not rendered.

                      13           51.     Mr. Bryant discussed the issue directly with Indobotanical. When Mr. Bryant

                      14   highlighted that Indobotanical invoices were directed to LGI since the date of the MOU and

                      15   that Ted Palaio was staying as lndobotanical 's guest, Indobotanical still blamed the Cleanview

                      16   Companies, even though all Indobotanical had to do was ask Ted Palaio to render payment.

                      17           52.     After receiving no response from LGI, on June 10, 2021, the Cleanview

                      18   Companies demanded that LGI cease and desist any use of information or materials in breach

                      19   of the terms of the NDA, and that LGI immediately pay the outstanding invoices .

                      20           53.     By letters dated June 28, 2021 and June 29, 2021, LGI and Alphabet responded

                      21   to the Cleanview Companies efforts to have LGI comply with the MOU. In one letter, LGI did

                      22   not dispute its use of the confidential information, but claimed, for example, that lobbying a

                      23   foreign government somehow qualified as diligence. In another letter, Alphabet and LGI

                      24   reasserted the mistaken assertions of defective product, when the parties never agreed to any

                      25   testing regime, neither Alphabet nor LGI returned the supposedly defective product, and the

                      26   MOU actually resolved the issue. The Cleanview Companies responded by letters dated July

                      27   14, 2021.

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                                         54.      As of the date of this Complaint, LGI, Alphabet, and their principals have not

                            2   signed the updated reimbursement agreement or provided any comments, or remitted any

                            3   outstanding payments. In short, LGI, Alphabet, and their principals have not made any

                            4   meaningful attempt to honor the MOU, NDA or the reimbursement agreement that they

                            5   originally proposed.

                            6            55.      Despite the Cleanview Parties' continuous efforts to finalize the definitive

                            7   agreement, LGI Parties have demonstrated no intention of completing the transaction.

                            8            56.      Indeed, notwithstanding the fact that Peyton Palaia repeatedly assured the

                            9   Cleanview Companies that LGI was working diligently to finalize the parties' agreement, LGI

                           10   has essentially ceased all of its negotiations with the Cleanview Parties after the Cleanview

                           11   Parties sent the LGI the last draft of the definitive purchase agreement on or about May 19,

                           12   2021 . Nor have LGI, Alphabet and their principals, responded to the last diligence material

                           13   submitted on June 2, 2021.

                           14            57.     The Cleanview Companies are info1med and believe that the LGI, Alphabet and

                           15   their principals are intentionally misusing the Cleanview Companies ' confidential information

                           16   and interfering with its preexisting business relationships in an attempt to cut the Cleanview

                           17   Companies out of the deal and start their own kratom import and distribution business using

                           18   the info1mation and contacts that the Cleanview Companies provided pursuant to the NDA.

                           19                                        FIRST CAUSE OF ACTION

                           20                                         (Fraud In The Inducement)

                           21      (Cleanview Against All Defendants Including LGI Holdings, LLC, Alphabet, Peyton

                           22   Palaio, Ted Palaio, Lawrence Larsen, Mark Jennings, Jason Foster, and DOES 1 through

                           23                                               10, inclusive)

                           24            58.      Plaintiffs expressly incorporate paragraphs 1 through 57 above as though fully

                           25   set forth herein.

                           26            59.      Defendants made numerous false or misleading statements with the intent to

                           27   induce Clearview to enter into the MOU and NDA. For example, in multiple telephone

                           28   conversations, Zoom conferences, and other communications from January through May 2021 ,
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                            Peyton Palaio, Lawrence Larsen, Mark Jennings, and others stated to Mr. Bryant that LGI and

                        2   Alphabet, wanted to purchase Cleanview and its affiliate companies, Smash Hit and Green

                        3   Gold, to acquire its business and agreed to honor the MOU and NDA.

                        4            60.       Specifically, Peyton Palaio persuaded the Cleanview Parties to provide the LGI

                        5   with discounted shipments of kratom and told Mr. Bryant that LGI's payments under the

                        6   definitive agreement would compensate Cleanview for a sho1t interval of discounted pricing.

                        7            61.       These statements were false and misleading at the time they were made because,

                        8   upon information and belief, Defendants LGI, Alphabet, Peyton Palaio, Ted Palaia, Lawrence

                        9   Larsen, Mark Jennings, and Jason Foster, never had any intention of honoring the promises and

                       10   covenants in the MOU and NDA, but instead Defendants LGI, Alphabet, Peyton Palaia, Ted

                       11   Palaio, Lawrence Larsen, Mark Jennings, and Jason Foster, intended to use the MOU and NDA

                       12   to gain Cleanview's confidential infom1ation and start a competing business, and obtain

                       13   discounted shipments while it established that business.

                       14            62.       These misrepresentations pertained to material facts. Cleanview's primary

                       15   purpose in entering into the MOU and NDA was to timely negotiate and complete a definitive

                       16   purchase agreement for the acquisition of the Clean view business. For example, the provisions

                       17   in the NDA were material to ensure limited use of Cleanview's confidential information and

                       18   prevent any third party from gaining a competitive advantage. As another example, Cleanview

                       19   only agreed to discounted shipping in the MOU based upon the short, contractual time period

                       20   in that agreement and reciprocal promises for the definitive agreement.

                       21            63 .      Clean view reasonably relied on the representations as true. Based on these

                       22   representations and those in the MOU and NDA, Cleanview entered into the MOU and NDA.

                       23   Soon after, Cleanview began providing LGI with requested diligence information containing

                       24   Cleanview's confidential information, as defined in the NDA, including making introductions

                       25   to critical persons and entities in Cleanview's operation that had been cultivated and used as

                       26   pa1t of their business. Cleanview also facilitated the shipping to LGI of large quantities of

                       27   kratom under the discounted pricing in the MOU.

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                                     64.      Cleanview has been damaged by the use and disclosure of its confidential

                        2   information and the failure to follow through with finalizing a purchase agreement of the

                        3   Cleanview Parties ' business.

                        4            65 .     Plaintiffs are entitled to rescind the MOU and NDA, and seek to rescind the

                        5   MOU and NDA and/or rescissionary damages.

                        6            66.      In the alternative, Cleanview is entitled to damages in an amount to be proven at

                        7   trial.

                        8            67.      Upon information and belief, the above-describes acts and conduct of the

                        9   Defendants LGI, Alphabet, Peyton Palaio, Ted Palaio, Lawrence Larsen, Mark Jennings, and

                       10   Jason Foster, was willful, malicious and oppressive and undertaken with the intent to cause

                       11   injury and damage to Cleanview, thereby justifying an award of exemplary and punitive

                       12   damages.

                       13                                       SECOND CAUSE OF ACTION

                       14                         (Tortious Interference With Contractual Relationship)

                       15                                      (Cleanview Against All Defendants)

                       16            68.      Plaintiffs expressly incorporate paragraphs 1 through 67 above as though fully

                       17   set forth herein.

                       18            69.      Cleanview, Smash Hit, and Green Gold have developed contacts and

                       19   contractual relationship with kratom farmers, distributors, and suppliers in Indonesia, including

                       20   Indobotanical.

                       21            70.      Pursuant to the NDA, Cleanview introduced Defendants LGI, Alphabet, Peyton

                       22   Palaio, Ted Palaio, Lawrence Larsen, Mark Jennings, and Jason Foster, to these critical persons

                       23   and entities.

                       24            71.      Defendants LG!, Alphabet, Peyton Palaio, Ted Palaio, Lawrence Larsen, Mark

                       25   Jennings, and Jason Foster, have full knowledge of Cleanview, Smash Hit, and Green Gold's

                       26   contractual relationships with these persons and entities because Cleanview, Smash Hit, and

                       27   Green Gold are part of their supply chain that has been supplying LGI and Alphabet with

                       28   kratom for more than one year.
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                                       72.      Defendants LGI, Alphabet, Peyton Palaio, Ted Palaio, Lawrence Larsen, Mark

                          2   Jennings, and Jason Foster without any legal right or privilege to do so, intentionally interfered

                          3   with Cleanview, Smash Hit, and Green Gold's contractual relationships with the intent to

                          4   induce breach and cause disruption by, but not limited to the following acts, misconduct or

                          5   om1ss10ns:

                          6                     (i)      Failing to pay Indobotanical and other vendors' invoices, causing those

                          7   entities to withhold shipments or services;

                          8                     (ii)     Misusing Cleanview's confidential information in order to disrupt the

                          9   Cleanview Companies' supply chain and preexisting business relationships; and

                         10                     (iii)    Conspiring to enter into their own agreements with the individuals and

                         11   entities that are part of Cleanview, Smash Hit, and Green Gold's supply chain.

                         12            73.      Defendants LGI, Alphabet, Peyton Palaio, Ted Palaio, Lawrence Larsen, Mark

                         13   Jennings, and Jason Foster actions interfered with the Cleanview, Smash Hit, and Green Gold's

                         14   contractual rights and benefits.

                         15            74.      As a result thereof, Cleanview, Smash Hit, and Green Gold's have suffered

                         16   damages in an amount to be proven at trial.

                         17            75.      Upon information and belief, the above-describes acts and conduct of the

                         I8   Defendants LGI, Alphabet, Peyton Palaio, Ted Palaio, Lawrence Larsen, Mark Jennings, and

                         19   Jason Foster was willful, malicious and oppressive and undertaken with the intent to cause

                         20   injury and damage to Cleanview, thereby justifying an award of exemplary and punitive

                         21   damages

                         22                                         THIRD CAUSE OF ACTION

                         23                                        (Breach of the MOU and NDA)

                         24                                    (Cleanview Against LGI and DOES 1-10)
                         25            76.      Plaintiffs expressly incorporate paragraphs 1 through 75 above as though fully

                         26   set forth herein.

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                                       77.      Clean view entered into the written MOU and NDA with LGI on or about March

                          2   10, 2021. True and conect copies of the MOU and NDA are attached as Exhibit 2 and

                          3   concurrently, Plaintiffs have moved to seal that exhibit consistent with the MOU's tenns.

                          4            78.      Under the NDA, LGI may use Cleanview's confidential infom1ation for limited

                          5   purposes.

                          6            79.      Defendants have breached the MOU and NDA, by among other actions:

                          7                     (i)       Actively engaging and cultivating relationships with local Indonesian

                          8   individuals and entities that are part of the Cleanview' s supply chain, including Indobotanical,

                          9   that Cleanview introduced to Defendants under the protection of the NDA;

                         10                     (ii)      Engaging in lobbying Indonesian government officials through the

                         11   contact that Cleanview introduced to the LGI Parties under the protection of the NDA; and

                         12                     (iii)     Failing to pay outstanding invoices due to Indobotanical and other

                         13   vendors, as required by the MOU.

                         14            80.      Cleanview has substantially performed all of its obligations owed to LGI under

                         15   the MOU and NDA, except for those that it is excused from perfmming.

                         16            81.      These breaches of the Agreement have caused Cleanview to suffer substantial

                         17   damages in an amount to be proven at trial , plus interest, costs and attorneys' fees pursuant to

                         18   section 6.1 of the NDA attached as Exhibit A to the MOU.

                         19                                         FOURTH CAUSE OF ACTION

                         20                   (Breach of the Implied Covenant of Good Faith and Fair Dealing)

                         21                                     (Cleanview Against LGI and DOES 1-10)

                         22            82.      Plaintiffs expressly incorporate paragraphs 1 through 81 above as though fully

                         23   set forth herein.

                         24            83.      Cleanview entered into the written MOU and NDA with LGI on or about March

                         25   10, 2021.

                         26            84.      Implied by those agreements is a covenant of good faith and fair dealing. The

                         27   implied covenant requires that neither party act in a manner that would injure the rights of the

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                              other party to receive the benefit of the agreement. It requires the parties to act cooperatively

                          2   in accordance with their agreed common purpose.

                          3            85.     LGI by its actions and by engaging in the wrongdoing described herein,

                          4   breached the implied covenant by, among other things: failing to act fairly , honestly, and

                          5   cooperatively with Clean view and seeking to deprive Cleanview of the benefits of the MOU

                          6   and NDA.

                          7           86.      Cleanview has substantially performed all of its obligations owed to the LGI

                          8   under the MOU and NDA, except for those that it is excused from performing.

                          9           87.      As a direct and proximate result of the LGJ's conduct, Cleanview has suffered

                         10   damages in amount to be proven at trial.

                         11                                       FIFTH CAUSE OF ACTION

                         12                                     (Breach of the Supply Agreement)

                         13                   (Smash Hit and Green Gold Against Alphabet and DOES 1-10)
                         14           88.      Plaintiffs expressly incorporate paragraphs 1 through 87 above as though fully

                         15   set forth herein.

                         16           89.      Smash Hit and Green Gold entered into the written Supply Agreement with

                         17   Alphabet on or about October 26, 2020. A true and correct copy of the Supply Agreement is

                         18   attached as Exhibit 1.

                         19           90 .     Under the Supply Agreement, Alphabet is required to exclusively purchase

                         20   kratom in the United States from Smash Hit and Green Gold until the expiration of the

                         21   agreement's term. Alphabet is further required to make a minimum purchase of 300 metric

                         22   tons per month starting on January 26, 2021.

                         23           91.      Defendants have breached the Agreement, by among other actions:

                         24                    (i)      Using other suppliers for Alphabet's use in the United States;

                         25                    (ii)     Failing to purchase the minimum requirements set forth in the Supply

                         26   Agreement; and

                         27                    (iii)    Failing to pay outstanding invoices.

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                                      92.      Smash Hit and Green Gold have substantially performed all of their obligations

                         2   owed to Alphabet under the Supply Agreement, except for those that they are excused from

                         3   performing.

                         4            93.      These breaches of the Supply Agreement have caused Smash Hit and Green

                         5   Gold to suffer substantial damages in an amount to be proven at trial.

                         6                                        SIXTH CAUSE OF ACTION

                         7                  (Breach of the Implied Covenant of Good Faith and Fair Dealing)

                         8                    (Smash Hit and Green Gold Against Alphabet and DOES 1-10)

                         9            94.      Plaintiffs expressly incorporate paragraphs 1 through 93 above as though fully

                        10   set forth herein.

                        11            95.      Smash Hit and Green Gold entered into the written Supply Agreement with

                        12   Alphabet on or about October 26, 2020. A true and correct copy of the Supply Agreement is

                        13   attached as Exhibit 1.

                        14            96.      The implied covenant requires that neither party act in a manner that would

                        15   injure the rights of the other party to receive the benefit of the agreement. It requires the

                        16   parties to act cooperatively in accordance with their agreed common purpose.

                        17            97.      Alphabet by its actions and by engaging in the wrongdoing described herein,

                        18   breached the implied covenant by failing to cooperate and, among other things: delivering

                        19   improper notices of defect, when, among other things, the parties never agreed upon any

                        20   testing or specifications, using improper testing, and failing to permit Smash Hit and Green

                        21   Gold's own inspection of the purportedly defective product.

                        22            98.      Smash Hit and Green Gold have substantially performed all of their obligations

                        23   owed to the Alphabet under the Supply Agreement, except for those that they are excused from

                        24   performing.

                        25            99.      As a direct and proximate result of the Alphabet's conduct, Smash Hit and

                        26   Green Gold have suffered damages in amount to be proven at trial.

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                                                                   SEVENTH CAUSE OF ACTION

                           2                                             (Unjust Enrichment)

                           3                                      (Cleanview Against All Defendants)

                           4            100.     Plaintiffs expressly incorporate paragraphs 1 through 99 above as though fully

                           5   set forth herein.

                           6            101.     Defendants have benefitted from: i) utilizing Cleanview's confidential

                           7   information obtained under the NDA; ii) discount rates as set forth in the MOU based only

                           8   upon the contemplated short, contractual period to finalize a deal; and iii) receiving shipments

                           9   of kratom from Cleanview and failing to pay the invoices.

                          10            102.     Defendants have not paid Cleanview for the benefits it has received from

                          11   Cleanview.

                          12            103.     As a direct and proximate result of Defendants' wrongful conduct, Defendants

                          13   have been unjustly enriched to the detriment of Clean view.

                          14            104.     It would be unjust, unfair, and inequitable to permit Defendants to retain these

                          15   benefits.

                          16            105.     Cleanview demands restitution in an amount to be determined at trial.

                          17                                        EIGHTH CAUSE OF ACTION

                          18                                             (Declaratory Relief)

                          19                    (Smash Hit and Green Gold Against Alphabet and DOES 1-10)

                          20            106.     Plaintiffs expressly incorporate paragraphs 1 through 105 above as though fully

                          21   set forth herein.

                          22            I 07.    There is a present and actual controversy regarding whether Smash Hit and

                          23   Green Gold breached the Supply Agreement.

                          24            108.     Smash Hit and Green Gold seek a declaratory judgment pursuant to California

                          25   Code of Civil Procedure Section 1060 that Smash Hit and Green Gold have not breached the

                          26   Supply Agreement.

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                                                                    NINTH CAUSE OF ACTION

                          2                                             (Declaratory Relief)

                          3                                    (Cleanview Against LGI and DOES 1-10)

                          4            109.     Plaintiffs expressly incorporate paragraphs 1 through 108 above as though fully

                          5   set forth herein.

                          6            110.     There is a present and actual controversy regarding whether Cleanview has

                          7   breached the MOU.

                          8            111.     Cleanview seeks a declaratory judgment pursuant to California Code of Civil

                          9   Procedure Section 1060 that Cleanview has not breached the MOU.

                         10                                           PRAYER FOR RELIEF

                         11            WHEREFORE, Plaintiffs pray for judgment and relief against the Defendants as

                         12   follows :

                         13            A.       For general damages of at least $10 million ($10,000,000) according to proof;

                         14            B.       For special damages according to proof;

                         15            C.       For rescission of the Agreement;

                         16            D.       For rescissionary damages according to proof;

                         17            E.       For punitive and exemplary damages as permitted by law;

                         18            F.       For restitution according to proof;

                         19            G.       A preliminary and permanent injunction restraining Defendants from, among

                         20                     other acts, taking any actions based on or making any further use of

                         21                     Cleanview's confidential information;

                         22            H.       For pre-judgment and post-judgment interest as provided by law;

                         23            I.       For costs;

                         24            J.       For reasonable attorneys' fees as provided in section 6.1 of the NDA; and

                         25            K.       For such further or other relief as the Court deems just and proper.

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                                                                         JURY DEMAND

                          2            Plaintiffs hereby demand a trial by jury on all issues .

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                              DATED : July 16, 2021                        STRADLING YOCCA CARLSON & RAUTH
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                                                                           / ~2- Lisa M . Northrup
                                                                                 Nicole Carbone!
                          8                                                Attorneys for Cleanview Distribution Group LLC,
                                                                           Smash Hit Trading LLC, and Green Gold ICE LLC
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                    EXHIBIT 1
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                                    . EXCLUSIVE SUPPLY AGREEMENT


                    This Exclusive Supply Agreement ("Agreement") by and between the DBA Alphabet
        Wholesale ("Alphabet Wholesale"), and Smash Hit Trading LLC, Green Gold ICE LLC, any of
        their partners, affiliates, owners or subsidiaries ("Partner") is being entered into this .).c,., day of
        ar:,... ::c     2020 (the "Effective Date").

                 WHEREAS,Alphabet Wholesale wishes to engage with Partner to secure certain supply
        arrangements. Specifically.,_Alphabet Wholesale wishes to afford Partner an opportunity to serve .
        as its supplier relating to the supply of kratom (mitragyna speciosa) in a relationship where by
        the seller will maintain an exclusive relationship to the buyer and not solicit or sell kratom ( Mi-
        tragyna Speciosa ) to other buyers.

                WHEREAS, the Partner wishes to Supply_Alphabet Wholesale with material relating to
        kratom (mitragynia specisoa). Partner will maintain a certain inventory in order to meet increasing
        demand, and agrees to continue to increase stock of inventory at Alphabet Wholesale's discretion,
        at anytime, in order to meet demand, witl\out increasing the agreed upon price set here within.

               NOW, THERFORE, in consideration of the mutual covenants and agreements set forth
        herein and for good and valuable consideration, the receipt and adequacy of which are hereby
        acknowledged, the parties hereby agree as follows:


        1.      RESPONSIBILITIES.

        (a)     Of the Partner:

                (i)     maintain an inventory of 800 metric tons of kratom materials (mitragyna speciosa)
                        at all times. This inventory must be immediately accessible and safely secured and
                        stored in the U.S. If inventory requirements are not met, Partner will bear all costs
                        associated with shipping the requested product via air freight, without changing the
                        price/Kg agreed upon.
                (ii)    have inventory on hand distributed between different colors, to be determined by
                                 Alphabet Wholesale and can be changed at any time.
                (iii)   fully disclose any and all circumstances that currently exist or that could arise dur-
                        ing the Term (as defined herein) that could be (or cause) a conflict of interest be-
                        tween the respective interests of_Alphabet Wholesale and the Partner; and,


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         (iv)   provide full access to the physical facilities for Companion Ag Program(training,
                oversight, auditing, and access to facility security/ surveillance systems and records
                and ability to inform Partner on changes or exclusion of certain farmers or producer
                or sellers of kratom).
         (v)    provide inventory of incoming material at sea on a monthly basis or upon requested
         (vi)   immediately replace any material supplied that does not pass incoming material
                testing and specifications. This replacement must include an additional 25% over
                the given amount returned of additional kratom to be sent out within 24 hours of
                receiving notice of rejection. Rejected material must be returned to Partner at the
                Partner's expense. Partner will bear all costs associated with replacement of re-:
                jected material.
         (vii) apply a coding system to all incoming shipments that will give traceability back to
                the farmer that shipped the material.
         (viii) exclusively supply Alphabet Wholesale with kratom materials (mitragynina speci-
                osa) no matter how or where it was sourced from. Partner may not sell or fulfill any
                other vendors orders or requests for kratom or related materials or goods in this
                category. Partner will terminate effective immediately upon execution of this agree-
                ment the pre-existing relationships and future opportunities for the sale of kratom
                and related goods .
         (ix)   allow for direct communication with farmers to help implement GAP procedures
                and at their farms. Partner agrees to terminate relationship with any farms that_
                - - - deem to be an unfit source of raw materials.
         (x)    share any and all previous/ current client information in order to help expand oper-
                ations. This should include contact name,#, email, quantities purchased, pricing,
                and frequency of purchases and assist in facilitating the sale of Kratom and related
                goods to those parties where requested by Alphabet Wholesale

   (b)   Of Alphabet Wholesale shall:

         (i)     purchase a minimum of275 metric tons per month for the 1st 3 months after signing
         of this contract. After 3 months, the minimum amount purchased monthly by Alphabet
         Wholesale will increase to 300+ metric tons per month.

         (ii)    ensure that incoming shipments are tested within 60 days of receipt and that any
         rejections of shipments are reported to Partner within that time frame.


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         (iii)   provide feedback on materials from specific farms and help to choose premiere
         farms to help avoid any contaminated material or not-to-spec shipments. Through the
         Companion Ag Program shall be responsible for the oversight of the providers, farms, dis-
         tributors and providers ofkratom working with the Partner.
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   2.     PRICING

          a) Partner agrees to sell and Alphabet Wholesale agrees to purchase 275 tons/ month at
          $13.50 and agrees to $13.00/Kg for quantities exceeding 300 tons per month and main-
          tain that purchase price up to 400 tons/ month. This will be the maximum price for
          kratom, dispite market fluctuations.
          b) If and when purchase quantity exceeds 400 tons/month, the price will decrease to
   $12.25/Kg

           c) all payments will be made after the material is delivered, QC approved and accepted
   into inventory. Payments will be remitted within 21 days of inventory entry to facilities

   3.     TERM AND TERMINATION.

   (a)     Term. This Agreement will become effective as of the Effective Date. Unless terminated
   earlier in accordance with this Section, this Agreement will continue until 18 months from the
   Effective Date (the "Term"). This term is renewable upon mutual written agreement of the Parties
   for an additional five-year term. The parties agree to commence discussions on renewal at mini-
   mum 6 months prior to renewal and agree to use best efforts to extend the engagement.

   (b)    Termination. This Agreement may be terminated:

          (i)     by_Alphabet Wholesale on provision of 120 days written notice to the other party
   and by Partner in the event that it provides 120 days written notice which may occur only if ;

           (ii)     by either party for a material breach of any provision of this Agreement by the
   other party, if the other party's material breach is not cured within 15 business days of receipt of
   written notice of the breach, except for non-payment of product by Alphabet Wholesale; or


                                                                   Initials   ~
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            (iii)  Alphabet Wholesale at any time and without prior notice if the Partner is convicted
   of any crime or offense, fails or refuses to comply with the written policies or reasonable directives
   of Alphabet Wholesale, or takes an action or fails to take action and such action or inaction con-
   stitutes gross negligence or willful misconduct as determined by Alphabet Wholesale in its rea-
   sonable discretion.

           (iv) the product is deemed to be not legal, or contaminated material cannot be remedied
   and the supply chain or Partner falls short of meeting the requirements and deliverable quantities
   of kratom aforementioned in this agreement.
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        4.      NO CONFLICT OF INTEREST; EXCLUSIVITY; The Partner hereby represents and
        warrants to Alphabet Wholesale that, to the best of its knowledge, it is not currently obliged under
        any existing contract or other duty that conflicts with or is inconsistent with this Agreement. Dur-
        ing the Term, this Agreement shall be exclusive on the part of the Partner and Partner may not
        provide the same or similar supply services to any other party. The Partner acknowledges and
        agrees that Alphabet Wholesale may enter into similar arrangements with other parties outside of
        USA.

        5.      CONFIDENTIAL INFORMATION. During the Term and for a period of 5 years thereaf-
        ter, each party shall retain in confidence and not disclose to any third-party Confidential Infor,.
        mation obtained from the other under this Agreement. "Confidential Information" means proprie-
        tary information, technical data, trade secrets, or know-how, including, but not limited to, research,
        product plans, products, services, customer lists, markets, software, developments, inventions, pro-
        cesses, formulas, technology, designs, drawings, engineering, hardware configuration information,
        marketing, finances, or other business information disclosed to one party by the other, either di-
        rectly or indirectly. Neither party will use Confidential Information except for the express purpose
        of performing this Agreement. The Partner may use the Confidential Information to the extent
        necessary for negotiations, discussions, and consultations with Alphabet Wholesale personnel or
        authorized representatives or for any other purpose Alphabet Wholesale may hereafter authorize
        in writing. Alphabet Wholesale and its affiliates cannot use any of the Partner's farms unless au-
        thorized by the Partner in writing.

        ~;:habet   Wholesal~
        Name:Mark Jennings
        Title: Director
        Date: 1 1 / 0 2 / 2 0 2 0 ~
        Smash Hit TQLLC                         _
        By:~
        Name: ~ M-~'5 ~Jl '<.;,........,
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        EXHIBIT 2
        REDACTED
     PENDING MOTION
         TO SEAL
